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                                                                    7 Attorneys for Chapter 7 Trustee
                                                                      Thomas H. Casey
                                                                    8

                                                                    9                            UNITED STATES BANKRUPTCY COURT
                                                                   10                             CENTRAL DISTRICT OF CALIFORNIA
                                                                   11                                     SANTA ANA DIVISION
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 In re                                            Case No. 8:16-bk-15156-CB
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 779 STRADELLA, LLC, a Delaware limited           Chapter 7
                                                                      liability company,
                                                                   14                                                  OBJECTION TO CLAIM NO. 3-1 FILED BY
                                                                                    Debtor.                            VANTAGE DESIGN GROUP, INC.;
                              Tel 714-966-1000




                                                                   15                                                  MEMORANDUM OF POINTS AND
                                                                                                                       AUTHORITIES; AND DECLARATION OF
                                                                   16                                                  THOMAS H. CASEY IN SUPPORT
                                                                   17                                                  DATE: June 30, 2020
                                                                                                                       TIME: 2:30 p.m.
                                                                   18                                                  PLACE: Courtroom 5D
                                                                                                                              411 West Fourth Street
                                                                   19                                                         Santa Ana, CA 92701

                                                                   20
                                                                        TO THE HONORABLE CATHERINE E. BAUER, UNITED STATES BANKRUPTCY
                                                                   21
                                                                        JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, VANTAGE DESIGN
                                                                   22
                                                                        GROUP, INC. AND ITS COUNSEL OF RECORD, IF ANY:
                                                                   23
                                                                                Thomas H. Casey, the chapter 7 trustee (“Trustee”) for the bankruptcy estate
                                                                   24
                                                                        (“Estate”) of 779 Stradella LLC ("Debtor"), files this Objection to Claim No. 3-1 Filed by
                                                                   25
                                                                        Vantage Design Group, Inc. (the “Objection”). In support of the Objection, the Trustee
                                                                   26
                                                                        submits the following memorandum of points and authorities and his declaration (the
                                                                   27
                                                                        “Casey Declaration”).
                                                                   28
                                                                        1275113.1                                     1                          OBJECTION TO CLAIM
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                                                                    1 I.           INTRODUCTION
                                                                    2              The Trustee objects to Claim No. 3-1 (“Claim”) filed by Vantage Design Group, Inc.

                                                                    3 ("Vantage"). By this Objection, the Trustee respectfully requests that the Court disallow

                                                                    4 the Claim in its entirety as the Claim does not contain any evidence of any work

                                                                    5 performed by the Claimant that underlies the Claim. In the alternative, the Trustee

                                                                    6 requests the Court reclassify the Claim from a secured claim to an unsecured claim as the

                                                                    7 Claim is predicated upon an unperfected mechanics lien that is unenforceable. Based

                                                                    8 upon the foregoing, the Trustee requests that the Court enter an order reclassifying the

                                                                    9 Claim as a general unsecured claim.

                                                                   10 II.          FACTUAL BACKGROUND
                                                                   11              On December 21, 2016, the Debtor filed a voluntary petition for relief under
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 Chapter 11 of the United States Bankruptcy Code. See Docket No. 1.1 The Debtor’s case
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 was converted to one under Chapter 7 by order entered on December 1, 2017. Thomas

                                                                   14 H. Casey was appointed the Chapter 7 trustee on December 4, 2017.
                              Tel 714-966-1000




                                                                   15              The Debtor’s sole asset is the real property located at 779 Stradella Road, Los

                                                                   16 Angeles, California 90027 (the “Property”), which the Debtor scheduled with a value of

                                                                   17 $8.6 million which was sold by the Trustee pursuant to the Court’s order approving the

                                                                   18 sale on June 29, 2018. Vantage filed a proof of claim, no. 3-1, on June 21, 2017,

                                                                   19 asserting a $63,352.43 mechanics claim secured on the Debtor's Property. The Claim

                                                                   20 contains a copy of a recorded "Mechanics’ Lien Claim" with a recording date of December

                                                                   21 15, 2016. No other documents are attached to the Claim.

                                                                   22 III.         THE CLAIM
                                                                   23              A copy of the Claim is attached to this Objection and identified by the Court’s

                                                                   24 docket number pursuant to Local Bankruptcy Rule 3007-1:

                                                                   25       Claim        Claimant                                      Date Filed     Amount and Classification
                                                                             3-1         Vantage Design Group, LLC                      6/21/2017     $63,352.43
                                                                   26

                                                                   27
                                                                             1
                                                                                 The Trustee requests the Court take judicial notice of its docket, the date of filing of pleadings on its
                                                                   28 docket and admissions of the Debtor in its schedules and related documents.
                                                                        1275113.1                                                  2                                OBJECTION TO CLAIM
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                                                                    1                                                                  Secured Claim

                                                                    2

                                                                    3
                                                                        IV.     LEGAL ANALYSIS
                                                                    4
                                                                                Federal Rule of Bankruptcy Procedure 3001(f) provides in relevant part
                                                                    5
                                                                                      A proof of claim executed and filed in accordance with these
                                                                    6                 rules shall constitute prima facie evidence of the validity of the
                                                                                      amount of the claim.
                                                                    7
                                                                        Section 502(a) of the Bankruptcy Code also provides that “[a] claim or interest proof of
                                                                    8
                                                                        which is filed under section 501 of this title, is deemed allowed, unless a party in interest .
                                                                    9
                                                                        . . objects.” 11 U.S.C. § 502(a). A claim will not be allowed to the extent that the claim is
                                                                   10
                                                                        “unenforceable against the debtor and property of the debtor, under any agreement or
                                                                   11
                                                                        applicable law for a reason other than because such claim is contingent or unmatured . . .
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                        .” 11 U.S.C. § 502(b)(1). The claimant must establish by a preponderance of the
                                                                   13
                                                                        evidence that its claim should be allowed. The ultimate burden of persuasion is on the
                                                                   14
                                                                        claimant. See Lundell v. Anchor Construction Specialists, Inc. (In re Lundell), 223 F.3d
                              Tel 714-966-1000




                                                                   15
                                                                        1035, 1039 (9th Cir. 2000); Bitters v. Networks Elec. Corp. (In re Networks Elec. Corp.),
                                                                   16
                                                                        195 B.R. 92, 96 (B.A.P. 9th Cir. 1996).
                                                                   17
                                                                                A.    The Claim Should Be Disallowed
                                                                   18
                                                                                The claimant must establish by a preponderance of the evidence that its claim
                                                                   19
                                                                        should be allowed. The ultimate burden of persuasion is on the claimant. See Lundell v.
                                                                   20
                                                                        Anchor Construction Specialists, Inc. (In re Lundell), 223 F.3d 1035, 1039 (9th Cir. 2000);
                                                                   21
                                                                        Bitters v. Networks Elec. Corp. (In re Networks Elec. Corp.), 195 B.R. 92, 96 (B.A.P. 9th
                                                                   22
                                                                        Cir. 1996).
                                                                   23
                                                                                The Claimant has produced no information or documentation to support the Claim.
                                                                   24
                                                                        Claimant has introduced no evidence that either a claim exists, or that the Debtor is liable
                                                                   25
                                                                        for such claim. Rather, the Claimant merely attached a Mechanics Lien, without any
                                                                   26
                                                                        evidence of work done to warrant the Claim. In the absence of such evidence, the
                                                                   27

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                                                                    1 Claimant has not met its burden with respect to the Claim's validity against the Debtor. As

                                                                    2 a result, the Trustee requests that the Court disallow the Claim in its entirety.

                                                                    3           B.    Vantage is Not Entitled to a Secured Claim on the Basis of its Proof of
                                                                    4                 Claim
                                                                    5           If the Court determines that the Claim should not be disallowed, the Court should

                                                                    6 reclassify the Claim from secured to a general unsecured claim as the Claim provides no

                                                                    7 legal basis for such a secured classification. The Claim is based upon a mechanics lien in

                                                                    8 the approximate amount of $63,352.43. A mechanics lien can be secured upon property

                                                                    9 of a debtor, but must be perfected to retain validity. A mechanic's lien is perfected by filing

                                                                   10 a claim of lien within certain time limitations and by meeting other statutory requirements.

                                                                   11 Shady Tree Farms, LLC v. Omni Financial, LLC, 206 Cal.App.4th 131, 135 (2012). One of
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 those statutory requirements is found in California Code of Civil Procedure § 8460(a)
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 which states that "[t]he claimant shall commence an action to enforce a lien within 90 days

                                                                   14 after recordation of the claim of lien. If the claimant does not commence an action to
                              Tel 714-966-1000




                                                                   15 enforce the lien within that time, the claim of lien expires and is unenforceable." Cal. Code

                                                                   16 Civ. Proc. § 8460(a). Without perfection, the mechanics lien expires and is unenforceable,

                                                                   17 even if it is recorded.

                                                                   18           Vantage recorded its "Claim of Mechanics Lien" on December 15, 2016. Therefore,

                                                                   19 in order to properly perfect the mechanics lien under Cal. Code Civ. Proc. § 8460(a),

                                                                   20 Vantage was required to commence an action to enforce the lien within 90 days of

                                                                   21 recordation. Failure to do so results in the claim of lien expiring and becoming

                                                                   22 unenforceable. There does not appear to be any evidence that Vantage has commenced

                                                                   23 an action to enforce the mechanics lien. Thus, as prescribed in Cal. Code Civ. Proc.

                                                                   24 § 8460(a), the lien has not been properly perfected. As of the Petition Date, Vantage did

                                                                   25 not have a valid mechanics lien. As a result, Vantage’s mechanic’s lien does not attach to

                                                                   26 any property of the Debtor.

                                                                   27           Due to its failure to commence an action to enforce the mechanics lien, Vantage’s

                                                                   28 mechanic's lien is not secured by any property of the Debtor. Therefore, the unperfected
                                                                        1275113.1                                    4                          OBJECTION TO CLAIM
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                                                                    1 mechanics lien cannot be the basis for a secured claim against Debtor and no other basis

                                                                    2 is provided for a secured classification in the Claim. Therefore the Claim should be

                                                                    3 allowed as a general unsecured claim only.

                                                                    4 V.        RESERVATION OF RIGHTS
                                                                    5           The Trustee reserves the right to object to the Claim on any other grounds to the

                                                                    6 extent he determines an objection is warranted.

                                                                    7 VI.       CONCLUSION
                                                                    8           The Trustee respectfully requests that the Court enter an order sustaining the

                                                                    9 Objection and disallowing the Claim in its entirety, or in the alternative, reclassifying the

                                                                   10 Claim as a general unsecured claim.

                                                                   11
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12                                                Respectfully submitted,
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 Dated: May 29, 2020                            WEILAND GOLDEN GOODRICH LLP

                                                                   14
                                                                                                                     By: /s/ Jeffrey I. Golden
                              Tel 714-966-1000




                                                                   15
                                                                                                                         JEFFREY I. GOLDEN
                                                                   16                                                    BETH E. GASCHEN
                                                                                                                         RYAN W. BEALL
                                                                   17                                                    Attorneys for Chapter 7 Trustee
                                                                                                                         Thomas H. Casey
                                                                   18

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                            650 Town Center Drive, Suite 600
                                               Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): Objection to Claim No. 3-1 Filed by Vantage Design
Groupl, Inc., Memorandum of Points and Authorities; and Declaration of Thomas H. Casey in Support
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 29, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) May 29, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Vantage Design Group
2634 S. La Cienega Blvd.
Los Angeles, CA 90034



                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) May 29, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 5/29/2020                      Victoria Rosales
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
